                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 Mario E. Castro, Magdalena Castro,

        Petitioner(s),

 v.
                                                           Case No.: 3:20-cv-00264
 THE BANK OF NEW YORK MELLON,
 Charles W. Scharf, AKERMAN LLP,
 Natsayi Mawere, Joseph DeFazio, NewRez
 LLC D.B.A. SHELLPOINT MORTGAGE
 SERVICING, Jack Navarro, REAL TIME
 SOLUTIONS, Eric C. Green, Bank of
 America Corporation, Brian Moynihan, et
 al.,

       Respondent(s).
______________________________________________________________________________

         NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL
______________________________________________________________________________

       PLEASE TAKE NOTICE THAT the undersigned hereby gives notice that Colby Bourne

Stevenson, Esq. of McGuireWoods LLP shall be substituted as counsel for Respondent Bank of

America, N.A., for itself and as successor in interest to BAC Home Loans Servicing, LP

(“BANA”) in the instant case in place of Brian Calub, who has resigned from McGuireWoods

LLP.

       Undersigned counsel respectfully requests that copies of all future communications,

notices, orders and pleadings issued in this action be sent to counsel at the address provided below.

       This 25th day of June, 2021.

                                                /s/ Colby Bourne Stevenson
                                              Colby Bourne Stevenson (NC State Bar No. 43236)
                                              McGuireWoods LLP
                                              201 North Tryon Street (Suite 3000)




       Case 3:20-cv-00264-MOC-DSC Document 27 Filed 06/25/21 Page 1 of 2
                                             Charlotte, NC 28202
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                                             Email: CStevenson@mcguirewoods.com

                                             Counsel for Respondent Bank of America, N.A.



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of June, 2021, a copy of the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all attorneys of record registered with the CM/ECF system. A copy

of the foregoing was also served on the Pro Se Plaintiffs below by U.S. First Class mail:


       Magdalena Castro
       419 W. Hills Rd.
       Melville, NY 11747
       Pro Se Plaintiff

       Mario E. Castro
       419 W. Hills Rd.
       Melville, NY 11747
       Pro Se Plaintiff



                                             /s/ Colby Bourne Stevenson
                                             Colby Bourne Stevenson




      Case 3:20-cv-00264-MOC-DSC Document 27 Filed 06/25/21 Page 2 of 2
